Case 3:14-cr-00091-RRE Document 49 Filed 10/13/15 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NORTH DAKOTA

 

SOUTHEASTERN DIVISION

UNITED STATES OF AMERICA INFORMATION

v. Case No. 3:14-CR-91
TERRY MICHAEL WILLIAMS-BEY, Violation: 18 U.S.C. § 924(a)(l)(A) and
a/l</a TERRY MICHAEL WILLIAMS, 924(a)(l)
a/k/a T M WILLIAMS BEY,
a/k/a T WILLIAMS BEY,
a/k/a TERRANCE WILLlAMS,
a/k/a TERRENCE WILLIAMS,
a/k/a MlHlAl\/H\/lAD SHABAZZ

 

False Statement in Connection with Acquisition of a Firearm
The United States Attorney Charges:
On or between October 3, 2014, in the District ofNorth Dakota,
TERRY MICHAEL WILLIAMS-BEY,
a/l</ a TERRY MICHAEL WILLIAMS,
a/l</a T l\/l WILLIAMS BEY,
a/k/a T WlLLlAl\/IS BEY,
a/k/a TERRANCE WILLIAMS,
a/k/a TERRENCE WlLLlAl\/IS,
a/l</a MUHAMMAD SHABAZZ,
did knowingly make a false statement and representation to the Outdoorsman, a dealer
licensed under the provisions of Chapter 44 of Title 18, United States Code, With
respect to information required by the provisions of Chapter 44 of Title 18, United

States Code, to be kept in the records of the Outdoorsman, in that the defendant

provided a copy of a North Dakota Concealed Weapons Lioense When at the time he

Case 3:14-cr-00091-RRE Document 49 Filed 10/13/15 Page 2 of 2

Well knew that the License had been revoked at the time of the purchase of a Charter
Arms Model Bulldog, .44 caliber revolver, bearing Serial Number 14-35611;

In violation of Title 18, United States Code, Section 924(a)(l)(A) and 924(a)(l).
k/.Q/o \---\\

wlSTOPHER C. MYERS
United States Attorney

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